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 7

 8                       UNITED STATES DISTRICT COURT
 9         CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
10

11   MIN WEN WANG,                           CASE NO.:
12                     Plaintiff,            [Removed from Los Angeles Superior
                                             Court, Case No. 19STCV09598
13        v.
                                             DECLARATION OF CAROLINE
14   AMERICAN AIRLINES INC.; and             RAY IN SUPPORT OF DEFENDANT
     DOES 1 through 20, inclusive,           AMERICAN AIRLINES, INC.'S
15                                           NOTICE OF REMOVAL OF
                       Defendants.           ACTION UNDER 28 U.S.C. SECTION
16                                           1441(B) (DIVERSITY)
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      DECLARATION OF CAROLINE RAY IN SUPPORT OF DEFENDANT AMERICAN AIRLINES, INC.'S
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 1                          DECLARATION OF CAROLINE RAY
 2         1.     I, Caroline Ray, hereby declarant of my own knowledge, except where
 3   stated upon information and belief and, as to those matters, I believe them to be
 4   true. If called upon to testify, I could and would competently testify thereto.
 5         2.     I am American Airlines, Inc.'s Corporate Secretary. In my position
 6   with American Airlines, Inc., I am familiar with American Airlines, Inc.'s
 7   corporate records.
 8         3.     American Airlines, Inc. is a Delaware corporation with its principal
 9   place of business in Fort Worth, Texas.
10         I declare under penalty of perjury that the foregoing is true and correct.
11   Executed on August .1 Li, 2019.
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14                                              CLuti,u;
                                            Caroline Ray
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      DECLARATION OF CAROLINE RAY IN SUPPORT OF DEFENDANT AMERICAN AIRLINES, INC.'S
 Case 2:19-cv-07117 Document 4 Filed 08/15/19 Page 3 of 3 Page ID #:175



 1                              CERTIFICATE OF SERVICE
 2          I, the undersigned, am employed in the County of Los Angeles, State of
     California. I am over the age of 18 and not a party to the within action; am
 3   employed with Fisher & Phillips LLP and my business address is 444 South Flower
     Street, Suite 1500, Los Angeles, California 90071.
 4          On August 15, 2019 I served the foregoing document entitled
     DECLARATION OF CAROLINE RAY IN SUPPORT OF DEFENDANT
 5   AMERICAN AIRLINES, INC.'S NOTICE OF REMOVAL OF ACTION
     UNDER 28 U.S.C. SECTION 1441(B) (D ERSITY)on the appearing and/or
 6   interested parties in this action by placing  the original   a true copy thereof
     enclosed in sealed envelope(s) addressed as ollows:
 7
      Michael Freiman                             Attorney for Plaintiff,
 8    Law Office of Michael Freiman               MIN WEN WANG
      100 Wilshire Blvd., Ste. 700
 9    Santa Monica, CA 90401                      Tel. No. (310) 917-1022
                                                  Email. mike@employlegal.com
10
     O       [by MAIL] - I am readily familiar with the firm's practice of collection and
11           processing correspondence for mailing. Under that practice it would be
             deposited with the U.S. Postal Service on that same day with postage thereon
12           fully prepaid at Los Angeles, California in the ordinary course of business.
             I am aware that on motion of the party served, service is presumed invalid if
13           postage cancellation date or postage meter date is more than one day after
             date of deposit for mailing this affidavit.
14
     0       [by ELECTRONIC SUBMISSION] - I served the above listed
15           document(s) described via the United States District Court's Electronic
             Filing Program on the designated recipients via electronic transmission
16           through the CM/ECF system on the Court's website. The Court's CM/ECF
             system will generate a Notice of Electronic Filing (NEF) to the filing party,
17           the assigned judge, and any registered users in the case. The NEF will
             constitute service of the document(s). Registration as a CM/ECF user
18           constitutes consent to electronic service through the court's transmission
             facilities.
19
     0     [by PERSONAL SERVICE] - I caused to be delivered by messenger such
20         envelope(s) by hand to the office of the addressee(s). Such messenger is
           over the age of eighteen years and not a party to the within action and
21         employed with Network Express, whose business address is 1533 Wilshire
           Boulevard, Los Angeles, CA 90017.
22         I declare that I am employed in the office of a member of the bar of this
     Court at whose direction the service was made.
23

24           Executed August 15, 2019 at Los Angeles, California.

25       Tatiana Le                           By: /s/ Tatiana Le
                         Print Name                                 Signature
26

27

28


                                      CERTIFICATE OF SERVICE
     FPDOCS 35845108.1
